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                                                 #:1898




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10                            UNITED STATES DISTRJCT COURT
11                           CENTRAL DISTRJCT OF CALIFORNIA
                                        ******
12

1311 UNITED STATES OF AMERJCA,                   )      CASE NO. 2:24-CR-00091-ODW
14                                               )
                            Plaintiff,           )      DECLARATION OF RICHARD A.
15
                                                 )      SCHONFELD IN SUPPORT OF
16                                               )      DEFENDANT'S NOTICE OF
17                                               )      MOTION AND MOTION
1811 v.                                          )      IN LIMINE TO TAKE
                                                 )      JUDICIAL NOTICE OF
19
                                                 )      CONTENTS
20      ALEXANDER SMIRNOV,                       )      OF HEARING TRANSCRIPT
21                                               )      [ECF 148 THIRD MOTION IN
                            Defendant,           )      LIMINE FILED BY
22
                                                        DEFENDANT] 1
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27 11   1
        A Declaration was not submitted with the Motion; however, the deadline for Motions in Limine
28 II is November 1, 2024, and therefore this Declaration is timely filed.
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 1                     DECLARATION OF RICHARD A SCHONFELD         -   --   -- -   -    -   --




 2
           I, Richard A Schonfeld, declare as follows:
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 4         1. I am an attorney of record for Defendant Alexander Smirnov in the above-

 5      captioned case. I have personal knowledge of the matters contained in this
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        declaration, and, if called as a witness to testify, I would competently testify to
 7
 8 II them. This declaration is offered in support of the Defendant's third filed Motion

 9 11 in Limine to Take Judicial Notice of Contents of Hearing Transcript (DKT 148).
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           2. On October 22, 2024, counsel for Mr. Smimov sent counsel for the
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12 II gove1nment an email seeking the government's position on this motion. The

13      govemment subsequently responded that it opposes the Motion.
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           3. The Defendant will suffer prejudice if this Motion in Limine is denied, as
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16      official transcripts are within the category of documents for which the Court can
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        take judicial notice. Undersigned counsel believes that the transcript is relevant to
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        one of Mr. Smimov's theories of defense, i.e. the prosecution of Mr. Smirnov was
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20 II commenced as a result of the rejection of Hunter Biden's plea resolutions.

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           Executed this 1st day of November, 2024, in Las Vegas, Nevada.
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                                                Respectfully Submitted:
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                                                CHESNOFF & SCHONFELD
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                                                        ____,....=:=
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                                                RICHARD A. SCHONFELD
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